                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

                                       MINUTE SHEET

UNITED STATES OF AMERICA                             Date:       December 13, 2018

vs.                                                  Case No.: 18-03137-01-CR-S-BP

DEANNE HARRIS


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Initial Appearance – Indictment

Time Commenced: 2:36 p.m.                                     Time Terminated: 2:39 p.m.


                                       APPEARANCES

Plaintiff:      Jody Stockard, AUSA
USPPTS:         Joel Woodward


Proceedings: Parties appear as indicated above. Defendant appears in person.

                (SEALED) Because Defendant has been arrested, Court signs the envelope
                initially sealing the indictment and orders that case be unsealed and
                processed in accordance with established procedure and law.

                Defendant advised of rights and counsel will be appointed by subsequent
                order.

                Government orally moves for detention.

                Arraignment, Detention Hearing and Scheduling Conference set for
                12/18/2018 at 10:00 a.m.

               Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




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